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                  IN THE DISTRICT COURT OF THE UNITED STATES
                      FOR THE DISTRICT OF SOUTH CAROLINA
                               ROCK HILL DIVISION


South Carolina State Conference of        )          Case No. 0:22-cv-1338-JDA-PJG
NAACP, Disability Rights South            )
Carolina, Justice 360,                    )
                                          )
                                          )
                          Plaintiffs,     )
                                          )
                   v.                     )          OPINION AND ORDER
                                          )
South Carolina Department of              )
Juvenile Justice; Eden Hendrick, in       )
her official capacity as Executive        )
Director of the South Carolina            )
Department of Juvenile Justice,           )
                                          )
                        Defendants.       )


         This matter is before the Court on a motion to dismiss the Amended Complaint

filed by Defendants. [Doc. 119.] In accordance with 28 U.S.C. § 636(b) and Local Civil

Rule 73.02(B)(2), D.S.C., this matter was referred to United States Magistrate Judge

Paige J. Gossett for pre-trial proceedings.

         On December 6, 2023, the Magistrate Judge issued a Report and

Recommendation (the “Pending Report”) recommending that the motion to dismiss be

granted in part and denied in part. [Doc. 139.] The Magistrate Judge advised the parties

of the procedures and requirements for filing objections to the Pending Report and the

serious consequences if they failed to do. [Id. at 27.] Both parties filed objections to the

Pending Report on December 20, 2023, and both filed replies on January 10, 2024.1

[Docs. 144; 145; 151; 152.] This matter is ripe for review.


1
    This case was reassigned to the undersigned on February 16, 2024. [Doc. 154.]
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                                 STANDARD OF REVIEW

       The Magistrate Judge makes only a recommendation to this Court.                    The

recommendation has no presumptive weight, and the responsibility to make a final

determination remains with the Court. See Mathews v. Weber, 423 U.S. 261, 270–71

(1976). The Court is charged with making a de novo determination of any portion of the

Pending Report to which a specific objection is made. The Court may accept, reject, or

modify, in whole or in part, the recommendation made by the Magistrate Judge or

recommit the matter to the Magistrate Judge with instructions. See 28 U.S.C. § 636(b).

The Court will review the Pending Report only for clear error in the absence of an

objection. See Diamond v. Colonial Life & Accident Ins., 416 F.3d 310, 315 (4th Cir.

2005) (stating that “in the absence of a timely filed objection, a district court need not

conduct a de novo review, but instead must only satisfy itself that there is no clear error

on the face of the record in order to accept the recommendation” (internal quotation marks

omitted)).

                                      BACKGROUND

       Plaintiffs—three civil rights advocacy organizations in South Carolina—seek relief

based on alleged unlawful conditions of confinement existing across five secure facilities

administered by the South Carolina Department of Juvenile Justice (“DJJ”). [Doc. 117

¶¶ 4–8, 11–17, 56.]

       Plaintiff South Carolina State Conference of the NAACP (“NAACP”)—a state

conference branch of the national NAACP civil rights organization—is a nonprofit,

nonpartisan membership organization that, on behalf of its members and other

constituents, “advocates for a society in which all individuals have equal rights, all children



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have access to a free, high quality public education, and all persons are free from

disproportionate incarceration and racially motivated practices.” [Id. ¶¶ 12–13.] Plaintiff

Disability Rights South Carolina (“Disability Rights”) is a South Carolina nonprofit

corporation that serves as South Carolina’s Protection and Advocacy (“P&A”) system, as

defined in the Protection and Advocacy for Individuals with Mental Illness Act of 1986 (the

“PAIMI Act”), 42 U.S.C. §§ 10801, et seq.; and is thus authorized to “pursue

administrative, legal, and other appropriate remedies to ensure the protection of

individuals with mental illness who are receiving care or treatment in the State.” [Id. ¶ 14.]

Plaintiff Justice 360 is a South Carolina nonprofit organization whose mission is to

“promote fairness, reliability, and transparency in the criminal justice system for children

facing lengthy sentences and individuals facing the death penalty in South Carolina”; this

organization provides direct representation to juveniles in the custody of DJJ. [Id. ¶¶ 16–

17.] All three organizations “provide legal and other services to youth who are or may in

the future be in the custody of DJJ.” [Id. ¶ 18.]

       Plaintiffs allege that DJJ’s constitutional and statutory violations directly harm not

only Plaintiffs’ juvenile constituents but also Plaintiffs themselves. [Id. ¶¶ 8–9.] The

Amended Complaint identifies nine children who are constituents of Disability Rights, are

in Defendants’ custody, and have suffered harm as a result of their conditions of

confinement in DJJ facilities.2    [Id. ¶¶ 301–13.]     Plaintiffs also allege that specific,

individual clients of Justice 360 have been harmed by the unlawful conditions in DJJ’s

facilities [id. ¶¶ 233–35], and that all three Plaintiffs have been directly harmed by having



2
  The Amended Complaint identifies 13 children in total (“Child 1,” “Child 2,” etc.),
specifying that Children 1–4 are represented by Justice 360 [id. ¶¶ 233–34, 244, 259,
266, 272] and Children 5–13 are Disability Rights’s constituents [id. ¶ 302].
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to “re-direct their limited resources to make up for DJJ’s failures” and because “their ability

to serve the children has been impeded due to the trauma those children are

experiencing” [id. ¶ 8; see id. ¶¶ 231–300, 330–33].

       Plaintiffs allege various violations of the United States Constitution and certain

federal statutes. Specifically, the Amended Complaint asserts four causes of action

against Defendant Eden Hendrick pursuant to 42 U.S.C. § 1983 based on the following

purported violations of the Fourteenth Amendment: (1) “Failure to Protect Children

Entrusted to DJJ Care”; (2) “Prolonged and Punitive Use of Solitary Confinement for

Children”; (3) “Failure to Provide Rehabilitative Services”; and (4) “Substandard

Conditions of Confinement.” [Id. ¶¶ 334–58.] The remaining causes of action against

DJJ assert violations of the Americans with Disabilities Act (“ADA”), 42 U.S.C. §§ 12101,

et seq.; the Rehabilitation Act of 1973, 29 U.S.C. §§ 701, et seq.; and the Individuals with

Disabilities Education Act (“IDEA”), 20 U.S.C. §§ 1400, et seq. [Id. ¶¶ 359–86.] As their

remedy, Plaintiffs seek various forms of injunctive relief as well as costs and fees. [Id. at

73–79.]

       Plaintiffs filed their original Complaint in this Court on April 26, 2022. [Doc 1.]

Defendants moved to dismiss Plaintiffs’ original Complaint, challenging Plaintiffs’

standing to bring this case.3 [Doc. 10.] On August 31, 2022, the Magistrate Judge filed




3
 In addition to arguing that Plaintiffs lacked Article III and statutory standing [Doc. 10 at
11–18], Defendants argued that Plaintiffs’ relief raised federalism, comity, and separation
of powers concerns [id. at 10–11], that most of Plaintiffs’ claims were moot because DJJ
consummated a settlement with the DOJ related to many of the same issues raised in
Plaintiffs’ original Complaint (the “DOJ Settlement”) [id. at 18–20], that Plaintiffs failed to
exhaust their administrative remedies [id. at 20–26], that Defendant Eden Hendrick could
not be held liable in her individual capacity [id. at 26–27], and that the Eleventh
Amendment barred Plaintiffs’ official-capacity claims [id. at 27–31].
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a Report and Recommendation (the “First Report”) recommending that Defendants’

motion to dismiss for lack of subject matter jurisdiction be granted because no Plaintiff

had standing [Doc. 45], but the Honorable Mary Geiger Lewis rejected that

recommendation on February 2, 2023, concluding that at least Justice 360 had

organizational standing to raise each cause of action in the original Complaint. [Doc. 68

at 6–9.] Judge Lewis also referred the matter back to the Magistrate Judge, in part to

address the other issues in the motion to dismiss. [Id. at 9.]

       Following Judge Lewis’s ruling, the Magistrate Judge held a status conference with

the parties on March 1, 2023, during which she directed Defendants to file an amended

motion to dismiss within 14 days. [Doc. 73.] Defendants filed an amended motion to

dismiss on March 17, 2023, arguing that the Complaint failed to plausibly allege

entitlement to relief under Rule 12(b)(6) of the Federal Rules of Civil Procedure.4 [Doc.

81 at 25–33.] The Magistrate Judge issued a Report and Recommendation (the “Second

Report”) on April 28, 2023, recommending that Defendants’ amended motion to dismiss

be granted without leave to amend the Complaint5 because Plaintiffs’ Complaint failed to



4
  Defendants also argued that Plaintiffs’ requested relief raised federalism, comity, and
separation of powers concerns; Plaintiffs lacked prudential or statutory standing; Plaintiffs
could not collaterally attack the DOJ Settlement; Plaintiffs failed to raise an actual case
or controversy under Article III; Plaintiffs failed to exhaust their administrative remedies;
the Eleventh Amendment bars Plaintiffs’ official-capacity claims; and the doctrine of
laches bars Plaintiffs’ claims. [Doc. 81 at 7–25.]
5
 In recommending that the motion to dismiss be granted without leave to amend the
Complaint, the Magistrate Judge observed that

              throughout the year-long pendency of this case and in the face
              of multiple motions to dismiss, the plaintiffs have forgone
              opportunities to amend the complaint. They have not
              asserted that they should be given leave to amend if the court

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state a claim for relief. [Doc. 99]. On September 14, 2023, Judge Lewis accepted in part

the Magistrate Judge’s recommendation and granted the motion to dismiss but allowed

Plaintiffs leave to amend their Complaint, concluding that Plaintiffs had not “forgone

opportunities” for amendment and had not represented that they were unable to plead

additional facts. [Doc. 115 at 4–5 (internal quotation marks omitted).]

       Plaintiffs filed the Amended Complaint on September 28, 2023, asserting another

15 pages of new allegations detailing the alleged harm suffered by Plaintiffs and the

juveniles they represent who are incarcerated at DJJ. [See Doc. 117 at 50–64; compare

with Doc. 1.] Defendants filed a motion to dismiss the Amended Complaint on October

12, 2023, renewing their arguments that Plaintiffs lack standing and have failed to state

a claim upon which relief can be granted as to each cause of action.6 [Doc. 119.] Plaintiffs

filed a response on October 26, 2023 [Doc. 122], and Defendants filed a reply on

November 2, 2023 [Doc. 124]. On December 6, 2023, the Magistrate Judge issued her

Pending Report recommending that the motion to dismiss be granted in part and denied

in part. [Doc. 139.]

       After this case was reassigned to the undersigned, this Court held a status

conference on November 1, 2024, to discuss any legal or factual developments that would

impact the Court’s ruling on Defendants’ motion to dismiss. [Docs. 168; 169.] Following



              should find that the instant Complaint fails to state a claim for
              relief, nor have they represented to the court that they can
              plead other facts that would cure the deficiencies identified
              herein.

[Doc. 99 at 25.]
6
 Defendants also again argue that Plaintiffs cannot collaterally attack the DOJ settlement.
[Doc. 119 at 29–31.]
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the status conference, the parties filed supplemental authority on November 6, 2024

[Docs. 171; 172], and replies to the supplemental authority on November 11, 2024 [Docs.

174; 175]. Plaintiffs filed a status report on November 12, 2024, advising the Court as to

which juveniles identified in the Amended Complaint were still housed at DJJ [Doc. 176],

and Defendants filed a reply to Plaintiffs’ status report on November 15, 2024 [Doc. 180].

                                     APPLICABLE LAW

Rule 12(b)(1) Standard

       A challenge to standing “implicates this Court’s subject matter jurisdiction and is

governed by Rule 12(b)(1).” Crumbling v. Miyabi Murrells Inlet, LLC, 192 F. Supp. 3d

640, 643 (D.S.C. 2016). Article III of the United States Constitution limits the jurisdiction

of federal courts to deciding only actual “cases” and “controversies.” Lujan v. Defs. of

Wildlife, 504 U.S. 555, 559 (1992). The doctrine of standing sets apart those “cases” and

“controversies” that are of the justiciable sort referenced in Article III. Id. at 560. “[T]o

satisfy Article III's standing requirements, a plaintiff must show (1) it has suffered an ‘injury

in fact’ that is (a) concrete and particularized and (b) actual or imminent, not conjectural

or hypothetical; (2) the injury is fairly traceable to the challenged action of the defendant;

and (3) it is likely, as opposed to merely speculative, that the injury will be redressed by

a favorable decision.” Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528

U.S. 167, 180–81 (2000).

       “To establish injury in fact, a plaintiff must show that he . . . suffered an invasion of

a legally protected interest that is concrete and particularized and actual or imminent, not

conjectural or hypothetical.” Spokeo, Inc. v. Robins, 578 U.S. 330, 339 (2016) (internal

quotation marks omitted). “For an injury to be particularized, it must affect the plaintiff in



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a personal and individual way.” Id. (internal quotation marks omitted). For an injury to be

concrete, the Supreme Court has “emphasized repeatedly” that it “must be concrete in

both a qualitative and temporal sense. The complainant must allege an injury to himself

that is distinct and palpable, as opposed to merely abstract.” Whitmore v. Arkansas, 495

U.S. 149, 155 (1990) (alteration, internal quotation marks, and citation omitted).

       When the plaintiff is an organization, it can satisfy the standing requirements of

Article III through either organizational standing or associational standing. White Tail

Park, Inc. v. Stroube, 413 F.3d 451, 458 (4th Cir. 2005). Under organizational standing,

the organizational plaintiff has standing to redress injuries directly inflicted on the

organization, whereas under associational standing, the organizational plaintiff has

standing to sue as a representative for one of its members to seek redress for the

member’s injury.7 Id.

The Rule 12(b)(6) Standard

       Under Rule 12(b)(6) of the Federal Rules of Civil Procedure, a claim should be

dismissed if it fails to state a claim upon which relief can be granted. When considering



7
  The United States Supreme Court has suggested that standing as a representative of
an organization’s members is known as “representational standing or organizational
standing.” Students for Fair Admissions, Inc. v. President & Fellows of Harvard Coll., 600
U.S. 181, 199 (2023). However, to maintain consistency and avoid confusion with the
organizational standing versus associational standing distinction used in this case in
previous Reports and Orders, the Court will maintain the nomenclature traditionally used
by this Court and courts within this Circuit. See, e.g., People for Ethical Treatment of
Animals, Inc. v. Tri-State Zoological Park of W. Md., Inc., 843 F. App’x 493, 495 (4th Cir.
2021) (stating that an organization “can assert standing in its own right to seek judicial
relief for injury to itself . . . [which is] referred to as organizational standing”); White Tail
Park, 413 F.3d at 459 n.3 (“We have generally labeled an organization’s standing to bring
a claim on behalf of its members ‘associational standing.’”); Defs. of Wildlife v. Boyles,
608 F. Supp. 3d 336, 342 (D.S.C. 2022). Thus, as used here, “organizational standing”
refers to an organization’s standing based on injuries suffered by the organization itself

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a motion to dismiss, the court should “accept as true all well-pleaded allegations and

should view the complaint in a light most favorable to the plaintiff.” Mylan Lab’ys, Inc. v.

Matkari, 7 F.3d 1130, 1134 (4th Cir. 1993). Even so, the court “need not accept the legal

conclusions drawn from the facts” nor “accept as true unwarranted inferences,

unreasonable conclusions, or arguments.” E. Shore Mkts., Inc. v. J.D. Assocs. Ltd.

P’ship, 213 F.3d 175, 180 (4th Cir. 2000). Further, for purposes of a Rule 12(b)(6) motion,

a court may rely on only the complaint’s allegations and those documents attached as

exhibits or incorporated by reference. See Simons v. Montgomery Cnty. Police Officers,

762 F.2d 30, 31–32 (4th Cir. 1985). If matters outside the pleadings are presented to and

not excluded by the court, the motion is treated as one for summary judgment under Rule

56 of the Federal Rules of Civil Procedure. Fed. R. Civ. P. 12(d).

       As for well pleaded allegations, the United States Supreme Court explained the

interplay between Rule 8(a) and Rule 12(b)(6) in Bell Atlantic Corp. v. Twombly:

              Federal Rule of Civil Procedure 8(a)(2) requires only “a short
              and plain statement of the claim showing that the pleader is
              entitled to relief,” in order to “give the defendant fair notice of
              what the . . . claim is and the grounds upon which it rests.”
              While a complaint attacked by a Rule 12(b)(6) motion to
              dismiss does not need detailed factual allegations, a plaintiff’s
              obligation to provide the “grounds” of his “entitle[ment] to
              relief” requires more than labels and conclusions, and a
              formulaic recitation of the elements of a cause of action will
              not do. Factual allegations must be enough to raise a right to
              relief above the speculative level on the assumption that all
              the allegations in the complaint are true (even if doubtful in
              fact).




and “associational standing” refers to standing based on harm suffered by a member
whom the organization represents.
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550 U.S. 544, 555 (2007) (footnote and citations omitted); see also 5 Charles Alan Wright

& Arthur R. Miller, Federal Practice and Procedure § 1216, at 235–36 (3d ed. 2004)

(“[T]he pleading must contain something more . . . than a bare averment that the pleader

wants compensation and is entitled to it or a statement of facts that merely creates a

suspicion that the pleader might have a legally cognizable right of action.”).

       “A claim has facial plausibility when the plaintiff pleads factual content that allows

the court to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “The plausibility standard is not

akin to a ‘probability requirement,’ but it asks for more than a sheer possibility that a

defendant has acted unlawfully.” Id. The plausibility standard reflects the threshold

requirement of Rule 8(a)(2)—the pleader must plead sufficient facts to show he is entitled

to relief, not merely facts consistent with the defendant’s liability. Twombly, 550 U.S. at

557; see also Iqbal, 556 U.S. at 678 (“Where a complaint pleads facts that are merely

consistent with a defendant’s liability, it stops short of the line between possibility and

plausibility of entitlement to relief.” (internal quotation marks omitted)). Accordingly, the

plausibility standard requires a plaintiff to articulate facts that, when accepted as true,

demonstrate that the plaintiff has stated a claim that makes it plausible the plaintiff is

entitled to relief. Francis v. Giacomelli, 588 F.3d 186, 193 (4th Cir. 2009).

                                       DISCUSSION

The Magistrate Judge’s Recommendations and the Parties’ Objections

       The Magistrate Judge concluded that Justice 360 has organizational standing and

that Disability Rights has associational standing, but recommends that Defendants’

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motion to dismiss be (a) granted with respect to Plaintiffs’ organizational claims, (b)

granted with respect to Plaintiffs’ associational claims brought under the ADA,

Rehabilitation Act, and IDEA, and (c) denied with respect to Plaintiffs’ associational claims

brought under § 1983.8 [See Doc. 139.] Defendants object to the Magistrate Judge’s

conclusion that Justice 360 has organizational standing and that Disability Rights has

associational standing, and object to the Pending Report’s recommendation that Plaintiffs’

associational claims based on § 1983 be permitted to move forward. [Doc. 144.] Plaintiffs

object to the Magistrate Judge’s recommendation that their claims based on

organizational standing and their associational claims brought under the ADA,

Rehabilitation Act, and IDEA be dismissed. [Doc. 145.]

Standing

       The Court will first address the standing issue. See Garey v. James S. Farrin,

P.C., 35 F.4th 917, 921 (4th Cir. 2022) (“Because standing is a threshold jurisdictional

question, we address it first.” (cleaned up)).      As noted, to establish organizational

standing, the organizational plaintiff must plead injuries directly inflicted on the

organization, whereas under associational standing, the organizational plaintiff has

standing to sue as a representative for one of its members to seek redress for the

member’s injury. White Tail Park, 413 F.3d at 458; see also S. Walk at Broadlands

Homeowner’s Ass’n, Inc. v. OpenBand at Broadlands, LLC, 713 F.3d 175, 182 (4th Cir.




8
  Additionally, the Magistrate Judge disagreed with Defendants that this case should be
dismissed because it is a “collateral attack” on the DOJ Settlement. [Doc. 139 at 25–26.]
No party has objected to this finding by the Magistrate Judge. Having reviewed the
Pending Report and the applicable law regarding this issue, the Court finds no clear error.
Thus, the Court accepts the Magistrate Judge’s conclusion and incorporates this portion
of the Pending Report by reference.
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2013). A plaintiff must establish standing as to “each claim” presented and “each form of

relief” sought. Davis v. FEC, 554 U.S. 724, 734 (2008) (internal quotation marks omitted).

       The Court, therefore, must determine whether any of the Plaintiffs has

demonstrated organizational standing and/or associational standing.            See Bostic v.

Schaefer, 760 F.3d 352, 370 (4th Cir. 2014) (“[T]he Supreme Court has made it clear that

‘the presence of one party with standing is sufficient to satisfy Article III’s case-or-

controversy requirement.’” (quoting Rumsfeld v. Forum for Acad. & Inst. Rights, Inc., 547

U.S. 47, 52 n.2 (2006))).

       Organizational Standing

       The Magistrate Judge concluded in the Pending Report that Justice 360 has

organizational standing, explaining that because Judge Lewis already determined that

Justice 360 has organizational standing and the Amended Complaint only adds

allegations about the harm purportedly suffered by the Plaintiff organizations, there is no

need for the Court to revisit the issue of organizational standing as to any of the Plaintiffs.

[Doc. 139 at 8–9.]

       In their objections, Defendants argue that “[f]acts on the ground have changed”

and the Magistrate Judge “erred by not reexamining this jurisdictional issue,” contending

that Plaintiffs’ new allegations “yield a different conclusion” as to organizational standing.

[Doc. 144 at 17–20.] Specifically, Defendants argue that Justice 360’s allegations that it

is directly harmed because (1) its resources are diverted and its mission frustrated, and

(2) it has had to divert some of its time and attention away from education and into

trainings designed to improve conditions-related advocacy do not satisfy the standard for

organizational standing set forth in Havens Realty Corporation v. Coleman, 455 U.S. 363,



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379 (1982). [Id. at 19–20.] In Havens Realty, the Supreme Court held that a nonprofit

organization had organizational standing to bring a claim under the Fair Housing Act

because it alleged that the defendant’s racial steering practices frustrated the

organization’s counseling and referral services and drained its resources. Id. at 369, 379.

The Court reasoned that, a “concrete and demonstrable injury to the organization’s

activities—with the consequent drain on the organization’s resources—constitutes

[organizational standing].” Id. at 379.

       Additionally, Defendants argue that Justice 360 represents only three juveniles

currently in DJJ custody, which undercuts Plaintiffs’ allegations that Justice 360’s

resources are so negatively affected by the representations as to satisfy the Havens

Realty standard. [Doc. 144 at 20–21.] Defendants also note that Justice 360 “does not

allege that its mission has been significantly or perceptively impaired, causing a drain on

its resources,” but “merely says it has ha[d] to divert some of its time and attention away

from education.”9 [Id. at 21 (internal quotation marks omitted).]

       In reply, Plaintiffs argue that the Amended Complaint satisfies the Havens Realty

standard by providing “over 60 paragraphs of detailed allegations demonstrating how

Defendants’ constitutional violations drain its resources and significantly undermine its

organizational mission.” [Doc. 152 at 18.] Plaintiffs also dispute Defendants’ argument

“that the magnitude of Justice 360’s injuries is insufficient to assert organizational




9
  Because the Magistrate Judge did not analyze the remaining Plaintiffs’ organizational
standing, Defendants do not make specific objections regarding the other Plaintiffs but
incorporate by reference their arguments regarding NAACP and Disability Rights’s lack
of organizational standing in their motion to dismiss and reply in support of their motion
to dismiss. [Doc. 144 at 22 (citing Docs. 119 at 14–16; 124 at 4–5).]


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standing” and argue that “other courts have recognized” that “Justice 360’s alleged harms

are perfectly sufficient to confer standing.” [Id. at 18–19 (citing Torres v. U.S. Dep’t of

Homeland Sec., 411 F. Supp. 3d 1036, 1053 (C.D. Cal. 2019)).]

       In a notice of supplemental authority filed November 6, 2024, Defendants notified

the Court of a recent Supreme Court decision that addresses the question of

organizational standing and limits the holding of Havens Realty.           [Doc. 171 at 1–3

(summarizing Food & Drug Admin. v. All. for Hippocratic Med., 602 U.S. 367 (2024).] In

Hippocratic Medicine, the Court held that the plaintiffs, medical advocacy associations

that incurred costs opposing FDA’s actions related to a certain prescription medication,

lacked organizational standing to challenge the FDA’s regulation of the medication

because “an organization that has not suffered a concrete injury caused by a defendant’s

action cannot spend its way into standing simply by expending money to gather

information and advocate against the defendant’s action.” 602 U.S. at 394. The Court

distinguished Havens Realty, explaining that the defendant’s actions in Havens Realty

“directly affected and interfered with [the plaintiff’s] core business activities” of operating

a housing counseling service, whereas the medical associations failed to suffer “any

similar impediment to [their] advocacy businesses.” Id. at 395.

       The Court concludes that Plaintiffs have plausibly alleged that Justice 360 has

organizational standing.10 Plaintiffs’ allegations outline how the conditions at DJJ that




10
   Because the alleged organizational harm stems from the same alleged actions of
Defendants, the Court analyzes all of Plaintiffs’ claims together for standing purposes.
See Dean v. Town of Hempstead, 527 F. Supp. 3d 347, 396 n.28 (E.D.N.Y. 2021)
(“Because the alleged harm stems from the same actions (or non-actions) on the part of
Defendants, the Court analyzes all of these claims . . . together for standing purposes.”
(cleaned up)).
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Plaintiffs complain of cause Justice 360’s “[j]uvenile clients [to] show up to attorney visits

sleep-deprived, exhausted, and anxious” such that they “struggle to focus” when Justice

360’s attorneys attempt to meet with them about their cases. [Doc. 117 ¶ 238.] Plaintiffs

detail how the complained-of conditions significantly increase the time it takes Justice 360

to represent their juvenile clients, thereby hampering their mission by reducing the

number of children Plaintiffs can represent. [See, e.g., id. ¶¶ 240–41, 243, 269, 278.]

These allegations of how Defendants’ actions impede Justice 360’s efforts to help their

clients and increase the resources Justice 360 is required to expend to do so are closely

analogous to the allegations the Havens Realty Court held were sufficient to establish

organizational standing. See 455 U.S. at 379 (allegation that “Plaintiff HOME has been

frustrated by defendants’ racial steering practices in its efforts to assist equal access to

housing through counseling and other referral services” and “has had to devote significant

resources to identify and counteract the defendant’s [sic] racially discriminatory steering

practices” (internal quotation marks omitted)); see also Republican Nat’l Comm. v. N.C.

State Bd. of Elections, 120 F.4th 390, 396 (4th Cir. 2024) (concluding that organizational

standing was established when the plaintiffs alleged that the defendants’ complained-of

“actions and inaction directly impact[ed] [the plaintiffs’] core organizational missions of

election security and providing services aimed at promoting Republican voter

engagement and electing Republican candidates for office” (internal quotation marks

omitted)); Lane v. Holder, 703 F.3d 668, 674 (4th Cir. 2012) (“An organization may suffer

an injury in fact when a defendant’s actions impede its efforts to carry out its mission.”).




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       Associational Standing

              The Magistrate Judge’s Analysis and the Parties’ Arguments

       As for associational standing, the Magistrate Judge concluded in the Pending

Report that Disability Rights has associational standing because the Amended Complaint

sufficiently alleges that Disability Rights has nine identifiable juvenile constituents who

are incarcerated at DJJ.11 [Doc. 139 at 10–14.] Acknowledging that the Fourth Circuit

has not yet decided whether P&A organizations such as Disability Rights have sufficient

indicia of membership to invoke associational standing and that the courts that have

addressed it are split on the issue, the Magistrate Judge cited a string of relevant cases,

including two Eastern District of North Carolina cases conferring standing, and concluded

that Disability Rights’s constituents have sufficient indicia of membership to invoke

associational standing. [Id. at 12–13 (citing, among others, Wilson v. Thomas, 43 F.

Supp. 3d 628, 632 (E.D.N.C. 2014); Disability Rts. N.C. v. N.C. State Bd. of Elections,

No. 5:21-CV-361-BO, 2022 WL 2678884, at *2 (E.D.N.C. July 11, 2022)).] The Magistrate

Judge further concluded that “protecting the conditions in which children with mental

illness are incarcerated is germane to Disability Rights’s statutory authority to pursue

legal, administrative, or other appropriate remedies or approaches to ensure the




11
   As noted in the Pending Report, Justice 360 has no members and does not assert
associational standing, and NAACP does not appear to assert associational standing
based on the Amended Complaint. [Doc. 139 at 10 n.3.] Neither party objects to this
finding. [See generally Docs. 144; 145.]
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protection of, and advocacy for, the rights of individuals with disabilities.” [Id. at 14

(internal quotation marks omitted).]

       In their objections, Defendants first argue that the United States Supreme Court’s

decision in Summers v. Earth Island Inst., 555 U.S. 488 (2009), forecloses Plaintiffs from

asserting associational standing here. [Doc. 144 at 6–13.] Specifically, Defendants

contend that Plaintiffs did not identify their constituents under Summers because they did

not actually name the protected members in the Amended Complaint. [Id. at 7–10.]

Defendants also argue that the Magistrate Judge erred in her associational standing

analysis by recommending that the Court find that Disability Rights plausibly alleged the

requisite indicia of membership despite the split of authority on the issue. [Id. at 13–14.]

Finally, Defendants argue that the juveniles’ individual participation in this case is required

here and that the Magistrate Judge’s recommendation on this point contradicts the First

Report. [Id. at 11–12.]

              Discussion

       The doctrine of associational standing does not concern any direct injury to the

organization, but rather allows organizations, when the requirements of associational

standing are established, to bring an action on behalf of their members “in a

representational capacity,” Hunt v. Wash. State Apple Advert. Comm’n, 432 U.S. 333,

345 (1977), by “assert[ing] the standing of their members,” Summers, 555 U.S. at 494;

see United Food & Com. Workers Union Loc. 751 v. Brown Grp., Inc., 517 U.S. 544, 555

(1996) (observing that the injury-in-fact requirement of the Hunt test for associational

standing is “an Article III necessity for an association’s representative suit”). To establish

associational standing, an organization must show that: (1) its members would otherwise



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have standing to sue as individuals; (2) the interests at stake are germane to the group’s

purpose; and (3) neither the claim made nor the relief requested requires the participation

of individual members in the suit. Hunt, 432 U.S. at 343.

       Only the first prong is meaningfully at issue in this case.12 The threshold questions

raised by Defendants related to the first prong are whether Disability Rights (a) has

members and (b) has sufficiently identified those members in its Amended Complaint. As

the Magistrate Judge explained, Disability Rights does not have members in the

traditional sense but serves constituents who have mental illnesses and are receiving

care or treatment in South Carolina. [Doc. 139 at 10–11.] An organization that does not

have traditional members may have associational standing to bring claims on behalf of

its constituents if the constituents “possess all of the indicia of membership in an

organization.” Hunt, 432 U.S. at 344. Although there is a split of authority on the narrow

question of whether P&A organizations have sufficient indicia of membership to invoke




12
   Defendants do not appear to object to the Magistrate Judge’s conclusion that the
second prong of the Hunt test has been met. [See generally Doc. 144 at 6–14.] Further,
personal participation of Disability Rights’s constituents is not required under the third
prong because Plaintiffs seek only prospective injunctive relief. See United Food & Com.
Workers Union Loc. 751 v. Brown Grp., Inc., 517 U.S. 544, 546 (1996) (“[I]ndividual
participation is not normally necessary when an association seeks prospective or
injunctive relief for its members.” (internal quotation marks omitted)). Defendants appear
to argue that the Magistrate Judge’s finding that personal participation of Disability
Rights’s constituents is not necessary here contradicts her First Report. [Doc. 144 at 11.]
However, the portion of the First Report quoted by Defendants [see Doc. 45 at 20] does
not address whether personal participation is necessary when an organization seeks only
injunctive relief. Rather, the quote from the First Report addresses only Plaintiffs’
earlier—and now irrelevant—argument that the Court should assume imminent injury on
behalf of their members despite their failure to allege specific facts showing that their
constituents have standing to bring claims. [See id.] Thus, the Court overrules this
objection and concludes that the third prong has been met.

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associational standing,13 the facts alleged here support the conclusion that Disability

Rights’s constituents have sufficient indicia of membership. Disability Rights is South

Carolina’s P&A and Client Assistance Program as defined by the PAIMI.                    [Doc.

117 ¶ 293.] Under the PAIMI, Disability Rights is “responsible for pursuing administrative,

legal, and other appropriate remedies on behalf of all individuals with mental illness who

are receiving care or treatment” in the state. [Id. ¶ 295 (internal quotation marks omitted).]

Further, the PAIMI requires that Disability Rights’s board “includes significant

representation of individuals with mental illness who are or have been eligible for services,

or who have received or are receiving mental health services, and family members,

guardians, advocates, or authorized representatives of such individuals.” [Id. ¶ 297

(internal quotation marks omitted).] The Court concludes that these requirements under

the PAIMI connote the “indicia of membership” required for associational standing under

Hunt. See, e.g., Stincer, 175 F.3d at 884 (“The very purpose of [the P&A statute is] to




13
   Compare Or. Advoc. Ctr. v. Mink, 322 F.3d 1101, 1111 (9th Cir. 2003) (concluding that
the “constituents” of Oregon’s P & A system “possess many indicia of membership—
enough to satisfy the purposes that undergird the concept of associational standing: that
the organization is sufficiently identified with and subject to the influence of those it seeks
to represent as to have a personal stake in the outcome of the controversy” (internal
quotation marks omitted)), and Doe v. Stincer, 175 F.3d 879, 886 (11th Cir. 1999)
(concluding that the requirements under the PAIMI ensure that “[m]uch like members of
a traditional association, the constituents of the [P & A system] possess the means to
influence the priorities and activities the [system] undertakes”), with Ass’n for Retarded
Citizens of Dall. v. Dall. Cnty. Mental Health & Mental Retardation Ctr. Bd. of Trs., 19 F.3d
241, 244 (5th Cir. 1994) (concluding that Texas’s P & A system bore “no relationship to
[a] traditional membership group[ ], because most of its ‘clients’ . . . are unable to
participate in and guide the organization’s efforts”), and Mo. Prot. & Advoc. Servs., Inc. v.
Carnahan, 499 F.3d 803, 810 (8th Cir. 2007) (concluding same with respect to Missouri’s
P & A system).

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confer standing on [P&A] systems . . . as representative bodies charged with the authority

to protect and litigate the rights of individuals with mental illness.”).

       Defendants further argue that Summers requires Plaintiffs to provide the specific

names of each of its harmed members to assert associational standing. [Doc. 144 at 6–

10.] The Court disagrees. Although Summers provides that “plaintiff-organizations [must]

make specific allegations establishing that at least one identified member had suffered or

would suffer harm,” 555 U.S. at 498, Disability Rights’s descriptions of its constituents,

designated as “Child 1, Child 2,” etc., are sufficient to “identify” its harmed members at

this stage, see, e.g., S.C. State Conf. of NAACP v. Alexander, No. 3:21-cv-03302-JMC,

2022 WL 453533, at *3 (D.S.C. Feb. 14, 2022) (rejecting argument that the NAACP must

name its affected members to survive a motion to dismiss claiming the plaintiffs lacked

standing). Further, as the Magistrate Judge explained in more detail, the Amended

Complaint gives examples of the ways the nine identified children have been exposed to

alleged constitutional and statutory violations arising out of their conditions of

confinement. [Doc. 139 at 13; see Doc. 117 ¶¶ 301–29.] For this same reason, the Court

concludes that the first prong of the Hunt test is met because Plaintiffs have sufficiently

alleged constitutional and statutory violations for which Disability Rights’s constituents

would have standing to sue as individuals.14 Therefore, for the reasons discussed above,

the Court concludes that Disability Rights has associational standing as to Plaintiffs’

constitutional and statutory claims based on the facts alleged in the Amended Complaint.



14
  The Court notes that both parties have provided supplemental authority on the issue of
whether Summers requires an organizational plaintiff to identify its injured members by
name [see Docs. 171 at 3–4; 172 at 1–2] but concludes that these additional cases do
not change its analysis.

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       Mootness of Plaintiffs’ Associational Standing Claims

       On November 12, 2024, at the Court’s request, Plaintiffs filed a status report

notifying the Court that out of the 13 children identified in the Amended Complaint, only

Child 1 and Child 4—two of Justice 360’s clients—remain in DJJ custody. [Doc. 176 at

1; see Doc. 117 ¶¶ 245, 272.] As such, none of Disability Rights’s identified constituents

are currently in DJJ custody. [Id.] This development creates the possibility that the claims

based on associational standing are now moot. Although Defendants have not argued

for dismissal based on mootness, “[b]ecause mootness implicates [a court’s] Article III

jurisdiction,” the Court has “an obligation to address it sua sponte.” Wild Va. v. Council

on Env’t Quality, 56 F.4th 281, 292 (4th Cir. 2022).

       While “standing is measured at the time suit is filed,” Columbia Cas. Co. v. McCabe

Trotter & Beverly, PC, No. 2:20-cv-3680-DCN, 2021 WL 2337188, at *3 (D.S.C. June 8,

2021), “[m]ootness has been described as the doctrine of standing set in a time frame:

The requisite personal interest that must exist at the commencement of the litigation

(standing) must continue throughout its existence (mootness),” Arizonans for Off. English

v. Arizona, 520 U.S. 43, 68 n.22 (1997) (internal quotation marks omitted). But see

Friends of the Earth, Inc. v. Laidlaw Env’t Servs. (TOC), Inc., 528 U.S. 167, 180 (2000)

(noting some differences between standing and mootness). The doctrine of mootness

prevents the Court “from advising on legal questions when the issues presented are no

longer ‘live’ or the parties lack a legally cognizable interest in the outcome.” Eden, LLC

v. Justice, 36 F.4th 166, 169 (4th Cir. 2022) (internal quotation marks omitted). In other

words, “federal courts may not opine on the merits of a case when doing so would have

no practical effect on the outcome of the matter.” Holloway v. City of Va. Beach, 42 F.4th



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266, 275 (4th Cir. 2022) (internal quotation marks omitted). This limit applies “throughout

the course of litigation, to the moment of final appellate disposition.”             Catawba

Riverkeeper Found. v. N.C. Dep’t of Transp., 843 F.3d 583, 588 (4th Cir. 2016) (internal

quotation marks omitted).

       There is no uniform approach among the Circuits—and the Fourth Circuit has not

yet weighed in—concerning whether an organization’s associational standing claim

becomes moot when the members upon whom the claims are based cease to have a live

case or controversy. See Circuit Approaches to Mootness in the Associational-Standing

Context, 136 Harv. L. Rev. 1434 (2023). The relevant case law on this issue is not well

developed. Courts have approached the issue with varying levels of flexibility in their

application of the mootness doctrine to associational claims, and the precise principles

underlying many of these decisions are unclear. See id. at 1437–45 (collecting cases).

Nonetheless, the Court is persuaded that the proper approach is that identified in Munsell

v. Department of Agriculture, 509 F.3d 572 (D.C. Cir. 2007), where the court held that

“[a]n association has standing only if . . . at least one of its members would have standing

to sue in his own right,” and that it therefore follows that if an organization seeks to appear

on behalf of an individual or company with standing to sue and the individual’s claims

become moot, the organization’s claims are moot as well. Id. at 584 (internal quotation

marks omitted); see also Milwaukee Police Ass’n v. Bd. of Fire & Police Comm’rs of City

of Milwaukee, 708 F.3d 921, 930–33 (7th Cir. 2013) (declining to apply the “continuing

and brooding presence” mootness exception and holding that the organizational plaintiff’s

claims were moot because its member who had standing to sue in her own right no longer

had a redressable claim).



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       This approach is in line with the purpose of Article III and the Supreme Court’s

justiciability doctrine. See Summers, 555 U.S. at 492 (“In limiting the judicial power to

‘Cases’ and ‘Controversies,’ Article III of the Constitution restricts it to the traditional role

of Anglo-American courts, which is to redress or prevent actual or imminently threatened

injury to persons caused by private or official violation of law.”). With none of Disability

Rights’s identified juveniles still in a position to have their injuries redressed by the relief

sought in this case, there is no longer a live controversy and Disability Rights thus has no

one to represent. See Chamber of Com. of the U.S. v. EPA, 642 F.3d 192, 207 (D.C. Cir.

2011) (“If [the association] has standing, it is only because at least one of the [two

identified members] has standing, and if the claims of both are moot, then [the

association’s] claims are moot as well.” (internal citation omitted)); see also Pro.

Helicopter Pilots Ass’n Loc. 102 v. U.S. Dep’t of the Army, No. 1:13-CV-164-WKW, 2013

WL 6837555, at *6 (M.D. Ala. Dec. 26, 2013) (“Because the [organization’s] associational

standing hinges on the standing of its individual members, the later mooting of its

members’ claims also moots [the organization’s] claims.” (footnote omitted)).               The

possibility that some of Disability Rights’s unidentified juveniles may be similarly harmed

is insufficient to support a live claim, as establishment of a controversy depends upon

specific allegations of identified members. Cf. Summers, 555 U.S. at 497–98 (rejecting

the proposition that an organization could establish associational standing by showing “a

statistical probability that some of [its] members are threatened with concrete injury” and

concluding that sanctioning that “novel approach to the law of [associational] standing

would make a mockery of [the Supreme Court’s] prior cases, which have required plaintiff-




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organizations to make specific allegations establishing that at least one identified member

had suffered or would suffer harm”).

       Nor do Plaintiffs’ claims based on associational standing fit into any recognized

exceptions to the mootness doctrine. Specifically, they do not fit into the “capable of

repetition, yet evading review” exception that several courts have applied in employing a

more flexible approach to the mootness doctrine in the associational standing context.

See, e.g., Arcia v. Fla. Sec’y of State, 772 F.3d 1335, 1342–43 (11th Cir. 2014). That

exception applies only if “(1) the challenged action is in its duration too short to be fully

litigated prior to cessation or expiration, and (2) there is a reasonable expectation that the

same complaining party will be subject to the same action again.” FEC v. Wis. Right to

Life, Inc., 551 U.S. 449, 462 (2007) (internal quotation marks omitted). The Fourth Circuit

has recognized that this exception is “a narrow one, reserved for ‘exceptional’

circumstances.” Int’l Brotherhood of Teamsters, Loc. Union No. 639 v. Airgas, Inc., 885

F.3d 230, 237 (4th Cir. 2018) (citation omitted).

       In considering the applicability of this exception, the Court notes again that it is the

live controversy between the identified members of the organization and the defendant

that is the basis for an organization’s associational standing—the organization’s role is

only as a representative of the members who themselves have standing. Summers, 555

U.S. at 494.    For that reason, the Court concludes that faithfulness to the “same

complaining party” requirement demands that the “capable of repetition, yet evading

review” exception applies only when there is a reasonable expectation that one of the

identified juveniles will be subject to the same action again. See Circuit Approaches to

Mootness in the Associational-Standing Context, 136 Harv. L. Rev. at 1446–48. In this



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case, there is no basis for a reasonable expectation that any of the identified juveniles will

return to DJJ and thus be subject to the complained-of actions again. See Incumaa v.

Ozmint, 507 F.3d 281, 289 (4th Cir. 2007) (holding that the “same complaining party”

element of the “capable of repetition, yet evading review” exception was not satisfied

when the prisoner plaintiff could have been subject again to the conditions he was

challenging only if he violated prison policies and that it would be improper for the court

to “forecast bad behavior” by the plaintiff); Slade v. Hampton Rds. Reg. Jail, 407 F.3d

243, 249 (4th Cir. 2005) (finding plaintiff’s claim moot and holding that “because we

presume that [the plaintiff pretrial detainee] will abide by the criminal laws of Virginia in

the future, we do not believe there is a reasonable probability he will return to the Jail as

a pretrial detainee”).

       Plaintiffs’ claims also do not fit within the exception to the mootness doctrine

providing that “a defendant’s voluntary cessation of a challenged practice does not

deprive a federal court of its power to determine the legality of the practice.” City of

Mesquite v. Aladdin’s Castle, Inc., 455 U.S. 283, 289 (1982); see also United States v.

W.T. Grant Co., 345 U.S. 629, 632 (1953) (“[V]oluntary cessation of allegedly illegal

conduct does not deprive the tribunal of power to hear and determine the case, i.e., does

not make the case moot.”). There is no indication here that the release of any of the

identified juveniles was part of an effort by Defendants to moot this case. Accordingly,

the removal of these juveniles does not constitute the “kind of ‘voluntary cessation’ that

the exception covers,” Incumaa, 507 F.3d at 288, and thus this exception does not save

Plaintiffs’ claims from mootness.




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       In sum, with none of Disability Rights’s identified juveniles remaining in DJJ

custody, Plaintiffs’ claims based on associational standing no longer present a live

controversy, and with no exception to the mootness doctrine applicable, the claims based

on associational standing must be dismissed.

Plaintiffs’ Section 1983 Claims Based on Organizational Standing

       Having concluded that only Plaintiffs’ claims based on organizational standing

continue to present a live controversy, the Court now turns to the merits of those claims.15

Section 1983 is “not itself a source of substantive rights, but merely provides a method

for vindicating federal rights elsewhere conferred.” Albright v. Oliver, 510 U.S. 266, 271

(1994) (internal quotation marks omitted). To state a claim upon which relief can be

granted under § 1983, Plaintiffs must allege: (1) that their rights secured by the

Constitution or laws of the United States were violated, and (2) that the alleged violations

were committed by a person acting under the color of state law. West v. Atkins, 487 U.S.

42, 48 (1988). Relevant to Plaintiffs’ § 1983 claims, the Due Process Clause of the

Fourteenth Amendment provides that no state shall “deprive any person of life, liberty, or

property, without due process of law.” U.S. Const. amend. XIV. The Supreme Court has

held that the Fourteenth Amendment’s substantive protections apply to those who are

involuntarily committed by the State. See Youngberg v. Romeo, 457 U.S. 307, 315 (1982)




15
   The Pending Report recommends that all of Plaintiffs’ organizational standing claims
be dismissed under Rule 12(b)(6), [see Doc. 139 at 15–16], but Plaintiffs object to the
Pending Report’s findings only as to the § 1983 claims [see Doc. 145 at 9–18]. Having
reviewed the Pending Report and the applicable law regarding Plaintiffs’ statutory
organizational standing claims, the Court finds no clear error. Thus, the Court accepts
the Magistrate Judge’s conclusion and incorporates this portion of the Pending Report by
reference.

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(stating that a person involuntarily committed to a state mental institution is not deprived

of all substantive liberty interests under the Fourteenth Amendment merely because he

was committed under proper procedures). This Court has recognized that the Due

Process Clause guarantees to juveniles who are in custody “the right to reasonably safe

conditions of confinement, freedom from unreasonable bodily restraint, and minimally

adequate training to protect those interests.” Alexander S. By & Through Bowers v. Boyd,

876 F. Supp. 773, 797–98 (D.S.C. 1995).

       The safety guaranteed by the Due Process Clause is a right to reasonable

protection from the aggression of other juveniles and staff. Id. at 798. Freedom from

unreasonable bodily restraint includes freedom from unduly restrictive conditions of

confinement that are not reasonably related to the legitimate security or safety needs of

the institution. Id. at 798. The minimally adequate training required can generally be

defined as training that is reasonable in light of the identifiable liberty interests and the

circumstances of the case. See Youngberg, 457 U.S. at 319 & n.25. In other words, the

hallmark of the Due Process Clause’s protection is the reasonableness of the State’s

methods of protecting the juveniles, but the Court must show deference to the judgment

of professionals who administer the facility, and federal intrusions into the operation of

state institutions should be minimized. Id. at 322–23.

       As discussed above, a claim based on organizational standing seeks to vindicate

the rights of the organization itself, whereas a claim based on associational standing is

brought on behalf of its members. White Tail Park, 413 F.3d at 458. The Pending Report

concluded that Plaintiffs have failed to state a § 1983 claim based on organizational

standing because, as with their Original Complaint, the Amended Complaint does not



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allege that the Plaintiff organizations were deprived of their own constitutional or statutory

rights. [Doc. 139 at 15–16.] Specifically, the Magistrate Judge reasoned that for each

cause of action, the Amended Complaint asserts that DJJ is violating the rights of “South

Carolina youth” or of “the children in the custody of DJJ” but does not allege that Plaintiffs

seek to vindicate the rights of the organizations themselves. [Id. at 16 (internal quotation

marks omitted).]

       In their objections, Plaintiffs contend that they have adequately alleged that the

organizations themselves have been injured by alleging that the organizations’ missions

have been frustrated and the organizations have been compelled to divert resources as

a “direct consequence of the unconstitutional conditions” in DJJ facilities. [Doc. 145 at 9–

10 (citing Doc. 117 ¶¶ 231–91).] As examples, Plaintiffs point to their allegations that

Disability Rights’s ability to visit DJJ facilities has been frustrated and children have been

assaulted as “snitches” after they meet with Disability Rights staff.16        [Id. at 10 (citing

Doc. 117 ¶ 299).]

       The Court overrules Plaintiffs’ objections. Although Plaintiffs allege that they have

suffered diversions of resources and frustrations of purpose because of Defendant

Hendrick’s alleged unconstitutional treatment of children at DJJ, they have failed to allege

how their own Fourteenth Amendment rights have been violated. “[T]o state a civil rights



16
   Plaintiffs further argue that the Pending Report is contradictory in concluding that they
adequately allege organizational harm under Rule 12(b)(1) but not under Rule 12(b)(6).
[Doc. 145 at 11.] The Court disagrees, as motions raised pursuant to Rules 12(b)(1) and
12(b)(6) are governed by different legal standards. See, e.g., Bell v. Hood, 327 U.S. 678,
682 (1946) (“Jurisdiction . . . is not defeated . . . by the possibility that the averments might
fail to state a cause of action on which [the plaintiffs] could actually recover. For it is well
settled that the failure to state a proper cause of action calls for a judgment on the merits
and not for a dismissal for want of jurisdiction.”).


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claim upon which relief can be granted under [Section] 1983, one must allege that he,

himself, sustained a deprivation of a right, privilege or immunity secured to him by the

Constitution and laws of the United States.”17 Inmates v. Owens, 561 F.2d 560, 562–63

(4th Cir. 1977).

       Therefore, for the reasons discussed above, the Court grants Defendants’ motion

to dismiss Plaintiffs’ claims based on organizational standing.

                                      CONCLUSION

       Based upon the foregoing, the Court accepts in part and rejects in part the Report

and Recommendation of the Magistrate Judge [Doc. 139] and incorporates it by reference

as to Plaintiffs’ claims based on organizational standing. Defendants’ motion to dismiss

[Doc. 119] is GRANTED as to Plaintiffs’ claims based on associational standing because

they are moot and as to Plaintiffs’ claims based on organizational standing because they

fail to state a claim for relief, and the case is therefore DISMISSED without prejudice.

       IT IS SO ORDERED.

                                                         s/ Jacquelyn D. Austin
                                                         United States District Judge
December 18, 2024
Columbia, South Carolina




17
  Plaintiffs also argue that their § 1983 claims fall within the “zone of interests” protected
by the Fourteenth Amendment and § 1983. [Doc. 145 at 9 n.1, 11–18.] Because the
Court accepts the Magistrate Judge’s recommendation that Plaintiffs have failed to allege
a deprivation of their own constitutional or statutory rights, it need not analyze Plaintiffs’
additional zone of interests argument.
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